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 2
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3                                   OAKLAND DIVISION
 4
      KEPHART CONSULTING, LLC,
                                                      Case No.: 4:24-cv-06770-KAW
 5
                    Plaintiff,
 6                      v.                            [PROPOSED] ORDER ON
 7                                                    AXXONSOFT US, INC.’S MOTION TO
     AXXONSOFT US, INC.,                              DISMISS
 8
                                                      HEARING DATE: MAY 1, 2025
 9                  Defendant.                        HEARING TIME: 1:30 PM
10

11
                                                      JURY TRIAL DEMANDED

12
                    [PROPOSED] ORDER on DEFENDANT AXXONSOFT US, INC.’S
13                                 MOTION TO DISMISS
14          The Court, having reviewed Defendant AxxonSoft US, Inc.’s Motion to Dismiss, Plaintiff’s
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     response, and all other evidence of record, is of the OPINION it should be DENIED. Accordingly, it is
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     ORDERED that Defendant’s Motion is DENIED.
17
            IT IS SO ORDERED:
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20   _______________________                            _____________________________
     Date                                               Judge Presiding
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                                 DOCUMENT NAME (e.g., COMPLAINT FOR DAMAGES) - 1
